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                                                                                          FILED
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI                            MAY 1 9 2016
                               SOUTHEASTERN DIVISION                                  U. S. DISTRiCT COURT
                                                                                    EASTERN DISTRICT OF MO
                                                                                        CI\PE GIRARDEAU
UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
vs.                                          )       Case No.                  1: 16CR00059SNLJ
                                             )
GLEN ALLEN YANDELL,                          )       Title 21, U.S.C. § 841(a)(1)
                                             )       Title 18, U.S.C. § 922(g)(I)
                      Defendant.             )

                                       INDICTMENT

                                            COUNT I

       THE GRAND.JURY CHARGES THAT:

       On or about January 30,2015, in Butler County, Missouri, in the Eastern District of

Missouri, Glen Allen Yandell, the defendant herein, knowingly and intentionally possessed with

intent to distribute a mixture or substance containing a detectable amount of methamphetamine, a

controlled substance, in violation of Title 21, United States Code, Section 841 (a)(1 ) and

punishable under Title 21, United States Code, Section 841 (b)(1)(C).

                                            COUNTTI

       THE GRAND JURY FURTHER CHARGES THAT:

       On Or about January 30,2015, in Butler County, Missouri, within the Eastern District

of Missouri, Glen Allen Yandell, the defendant herein, did possess in and affecting interstate

commerce, firearms, to-wit: an lver Johnson Model 50A, .22 caliber revolver, bearing serial

number E21120; and had previously thereto been convicted of the following crime punishable by

a term of imprisonment exceeding one year:
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               On February 26, 1991, in the Circuit Court of Butler County, Missouri, in cause
               number CR 391-63 FX, of the offense of Sale of Controlled Substance
               (Marihuana - Felony), and,

               On February 13, 1996, in the Circuit Court of Butler County, Missouri, in cause
               number CR 395-1250 FX, of the offense of Felony Non-Support, and

               On August 2, 2011, in the Circuit Court of Clay County, Arkansas, in cause
               number CR 2011-23, ofthe offense of Felon in Possession of a Firearm,

in violation of Title 18, United States Code, Section 922(g)(1) and punishable under Title 18,

United States Code, Section 924(a)(2).

                                             A TRUE BILL




                                             Foreperson

RICHARD G. CALLAHAN
United States Attorney




Tim J. Willis, # 62428MO
Special Assistant United States Attorney
